                                          EXHIBIT
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                                                                             Charles Wallace <cwallace@creedonpllc.com>



[Important]Settlement_Togethor. et al (Civil Action No. 4:21-cv-492-O)
Jesun <iplawyer01@foxmail.com>                                                                 Thu, May 20, 2021 at 12:25 PM
To: Charles Wallace <cwallace@creedonpllc.com>
Cc: jhcreedon <jhcreedon@creedonpllc.com>

 Dear Charles, We have told you that if your demand is too high, the defendant will not accept it, the defendant will file a
 answer, and you will continue to spend time and effort to response. In addition, you may not have fully understood the
 Amazon account. Although the funds in the defendant's account cannot be transferred, the defendant's account can be
 spent on Amazon platform. Even if you win the case, the defendant will spend all the frozen money before the execution
 of the judgment.
 Recognizing this, many plaintiffs would rather settle quickly with a more reasonable offer, thus saving time and energy to
 pursue a new lawsuit.
 Please believe that the above we said is true and we sincerely hope that you will consider the following offer.


     Doe                 Store name                                     Counteroffer




                                                                                                                     2
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Thank you and best regards,

------------------ Original ------------------

  From: Charles Wallace <cwallace@creedonpllc.com>
  Date: Thu,May 20,2021 0:28 AM
  To: Jesun <iplawyer01@foxmail.com>
  Cc: jhcreedon <jhcreedon@creedonpllc.com>
  Subject: Re: [Important]Settlement_Togethor. et al (Civil Action No. 4:21-cv-492-O)



Jesun,

Thanks. Just curious—what "other ways" will defendants try to "resolve the matter?" Any information you could provide
would be helpful.

Charles

                       Charles Wallace
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                       T: 972.850.6864 | F: 972.920.3290
                       E: cwallace@creedonpllc.com | W: www.creedonpllc.com




On Wed, May 19, 2021 at 10:57 AM Jesun <iplawyer01@foxmail.com> wrote:

     Thank you,Charles, I'm afraid there is almost no possibility of settlement, but if your client changes his mind recently,
     please let us know in time.
     Some clients will choose other ways to resolve the matter.
     Thank you

     Jesun
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